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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                      Case No. 6:12-cr-121-Orl-37KRS

REBECA RIVERA


                                        ORDER

      This cause is before the Court on the Defendant Rebeca Rivera’s Motion for a

New Trial (Doc. 232), filed November 24, 2014.

      On November 5, 2012, Rebeca Rivera was convicted of aiding and abetting the

sex trafficking of a minor, T.M., in violation of 18 U.S.C. §§ 1591(a) and 2 (Count I), as

well as two counts of aiding and abetting the transportation of a minor, T.M., in

interstate commerce with the intent to engage in criminal sexual activity in violation of

18 U.S.C. §§ 2423(a) and 2 (Counts II and III). (Doc. 117.) Rivera’s co-defendant, Luis

Morales, was convicted on six counts. (Doc. 116.) The Court denied four motions for

judgment of acquittal by Rivera (see Docs. 99, 100, 103, 104, 106, 107, 135), and

sentenced her to 180 months of imprisonment (see Doc. 152.) Rivera appealed

(Doc. 156), and the U.S. Court of Appeals for the Eleventh Circuit affirmed the

convictions of Rivera and Morales in an Opinion dated January 7, 2014 (Docs. 215,

216.) On November 24, 2014, Rivera filed a Motion for new trial. (See Doc. 232.)

      Within three years of a guilty verdict, a convicted person may file a motion for

new trial based on “newly discovered evidence.” 1 Fed. R. Crim. P. 33. Such motions

“are highly disfavored . . . should be granted only with great caution.” United States v.

      1 Although Rivera brought her Motion pursuant to Federal Rule of Civil Procedure

60, the Court will apply the law concerning Federal Rule of Criminal Procedure 33.
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Campa, 459 F.3d 1121, 1151 (11th Cir. 2006) (en banc).

        The “newly discovered evidence” submitted with the Motion is correspondence

from Morales dated October 14, 2014, which proclaims his innocence and the

innocence of Rivera. (Doc. 232, p. 3.) This document does not constitute “newly

discovered evidence” entitling Rivera to a new trial. New evidence under Rule 33 “must

be of such nature that a new trial would probably produce a new result.” See United

States v. Hall, 854 F.2d 1269, 1271 (11th Cir. 1988.) Here, Morales’ unsworn

statements are not of such nature. See United States v. Bachynsky, 578 F. App’x 914,

918 (11th Cir. 2014) (affirming order denying motion for new trial where conviction had

been affirmed based on “‘ample’ circumstantial evidence of a conspiratorial

agreement”). Accordingly, it is hereby ordered and adjudged that Defendant Rebeca

Rivera’s Motion for a New Trial (Doc. 232) is DENIED.

        DONE AND ORDERED in Chambers in Orlando, Florida, on December 16,

2014.




Copies:

Counsel of Record

Rebeca Rivera




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